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18
19                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
20
21   JENNY LISETTE FLORES, et al. ,   )           Case No. CV 85-04544-DMG
                                      )
22           Plaintiffs,              )           ORDER ENFORCING SETTLEMENT OF
     - vs -                           )           CLASS ACTION.
23
                                      )           [PROPOSED]
24   JEH JOHNSON, SECRETARY, U.S.     )
     DEPARTMENT OF HOMELAND SECURITY, )
25
     et al.,                          )           Hearing: March 13, 2015.
26                                    )           Time: 9:30 a.m.
             Defendants.              )
27                                                Courtroom 7, 312 N. Spring Street
                                   _
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     Order Enforcing Settlement

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2            This matter came on regularly for hearing on March 13, 2015, on plaintiffs’
3
     motion for an order requiring defendants to comply with the stipulated settlement
4
5    agreement filed herein on January 17, 1997, and approved by this Court on January 28,
6    1997 (“Settlement”). The Court has jurisdiction over plaintiffs’ motion pursuant to ¶ 37
7
     of the Settlement and the Court’s order of January 28, 1997, approving the Settlement
8
9    pursuant to Rule 23(e), Fed.R.Civ.Proc.
10           The Court, having considered the arguments and evidence submitted in support
11
     of and in opposition to plaintiffs’ motion, hereby grants plaintiffs’ motion.
12
13   Accordingly, IT IS HEREBY ORDERED that defendants are enjoined as follows:
14
             1) Defendant U.S. Immigration and Customs Enforcement (ICE) shall release
15
     minors from its custody without unnecessary delay to available custodians as ¶ 14 of
16
17   the Settlement directs, except where ICE determines in writing that the detention of an
18
     individual minor is required to secure his or her timely appearance before ICE or the
19
     immigration court, or to ensure the minor’s safety or that of others, or where a class
20
21   member’s parent objects to her or his child’s being released. Upon taking a minor into
22
     custody, ICE shall make and record prompt and continuous efforts toward family
23
     reunification and the release of the minor as ¶ 14 of the Settlement requires. When a
24
25   class member’s parent is also in custody and statutorily eligible for release, ICE shall
26
     exercise individualized discretion pursuant to 8 U.S.C. § 1226(a) and 8 C.F.R. §
27
     1236.1(c)(8) to determine whether to release the class member’s parent, such that the
28
     Order Enforcing Settlement

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1
2    class member will be released to the custody of his or her preferred custodian.
3
             2) In any case in which ICE does not release a minor, except as provided in ¶¶
4
5    12 or 21 of the Settlement or where a class member’s parent objects to being separated
6    from her or his child, ICE shall place such minor in a non-secure licensed program as
7
     defined in Definition No. 6 of the Settlement. Defendants shall not selectively apply
8
9    the “influx” provision of ¶ 12C of the Settlement to house class members apprehended
10   with a parent in secure or unlicensed facilities.
11
             3) In consultation with plaintiffs, defendants shall propose standards, and
12
13   procedures for monitoring compliance with such standards, for housing minors in
14
     Border Patrol facilities that are safe and sanitary and that are consistent with concern
15
     for the particular vulnerability of minors. Proposed standards shall cover children’s
16
17   access to adequate drinking water and food, toilets, sinks, showers, bedding and
18
     medical care, as well as temperature control, ventilation, and maximum capacity of
19
     rooms in which children are held. Defendants shall file such proposed standards within
20
21   90 days of the date of this Order; plaintiffs shall file objections thereto, if any, 14 days
22
     thereafter.
23
     Dated: _________________, 2015.                ______________________________
24
                                                    United States District Judge
25
     Presented by —
26
     /s/ Carlos Holguín _______________
27
     Carlos Holguín
28   One of the attorneys for plaintiffs
     Order Enforcing Settlement

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